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                                                   May 31, 2017


 VIA ECF
 Hon. Steven L. Tiscione
 United States District Court
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, NY 11201


        Re:    Sorenson v. Simpson, Index No. 15-cv-4614 (AMD-ST)


 Dear Judge Tiscione:

        As a follow up to today’s conference, here is Defendant Sandra Simpson’s contact
 information:

        Sandra Simpson
        419 Aderhold Road
        Saxonburg, PA 16056
        simpsonfuture@gmail.com


                                                   Very truly yours,



                                                   Maria Isabel S. Guerrero, Esq.


 cc:    Lorna B. Goodman, Esq.
        (via ECF to glornab@gmail.com)
